       Case 5:23-cr-00021-JGB           Document 107-3 Filed 09/09/24   Page 1 of 2 Page ID
                                                  #:5025



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            9 JASON EDWARD THOMAS CARDIFF
           10
                                        UNITED STATES DISTRICT COURT
           11
                                    CENTRAL DISTRICT OF CALIFORNIA
           12
                UNITED STATES OF AMERICA,                  Case No. 5:23-CR-00021-JGB
           13
                           Plaintiff,
           14                                              [Filed concurrently with Notice of
                     vs.                                   Motion; Declaration of Stephen R.
           15                                              Cochell; Declaration of Jason Cardiff
              JASON EDWARD THOMAS                          and [Proposed] Order]
           16 CARDIFF,
           17              Defendant.
           18    [PROPOSED] ORDER GRANTING DEFENDANT JASON CARDIFF’S
           19   NOTICE OF MOTION AND MOTION TO SUPPRESS EVIDENCE FROM
                             ILLEGAL SEARCHES AND SEIZURES
           20
           21         GOOD CAUSE HAVING BEEN SHOWN, THE COURT HEREBY

           22 GRANTS IN ITS ENTIRETY Jason Edward Thomas Cardiff’s Motion to Suppress
           23
              Evidence from Illegal Searches and Seizures.
           24
           25        IT IS THEREFORE ORDERED THAT all evidence obtained as a result of

        26 the USPIS’s warrantless searches, along with any related evidence or testimony
        27
           derived from those searches, suppressed.
        28
COCHELL
                                                    1
LAW FIRM        DEFENDANT JASON CARDIFF’S MOTION TO SUPPRSS EVIDENCE BASED ON FOURTH AMENDMENT
                                                   VIOLATIONS
       Case 5:23-cr-00021-JGB      Document 107-3 Filed 09/09/24     Page 2 of 2 Page ID
                                             #:5026



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                      Dated: ___________________
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                                                               Hon. Jesus G. Bernal
           5                                                   United States District Judge
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COCHELL
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LAW FIRM        DEFENDANT JASON CARDIFF’S MOTION TO SUPPRSS EVIDENCE BASED ON FOURTH AMENDMENT
                                                   VIOLATIONS
